Case 2:05-cr-20227-SH|\/| Document 8 Filed 07/07/05 Page 1 of 2 Page|D 7

IN THE UNITED sTATEs DISTRICT CoURT F\Lizo sr Q;Q{§§e
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UNITED STATES OF AMERICA

V.

CLAUDY REDMOND 05cr20227-Ma

 

ORDER SPECIFYING PERIOD OF EXCLUDABLE DELAY
UNDER THE SPEEDY TRIAL ACT

 

The defendant has this day notified the Court that he is attempting to obtain private
counsel to represent him in this action. Pursuant to the Speedy Trial Act, as set out in 18
U.S.C. §3161(h)(8)(B)(iv), a defendant may be granted a period of excludable delay while
attempting to obtain private counsel.

It is therefore ORDERED that the time period of 7//@&5' through

Z/Z§js- be excluded from the time its imposed by the Speedy Trial Act

for trial of this case, While the defendant is attempting to obtain private counsel.

ARRAIGNN[ENT IS RESET TO WEDNESDAY JULY 20 2005 AT 9:30 A.M. BEFORE

 

MAGISTRATE JU])GE DIANE K. VESCOVO

rhis Q'_¢'!~ day of <U>ZL., .2005.

'.”'Z“ a&.)

UNITED STATES MAGISTRATE JUDGE

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with Ftule 55 anci;'or 32{'0) FRCrP on 12 52 §

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 8 in
case 2:05-CR-20227 Was distributed by faX, mail, or direct printing on
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E. Greg Gilluly

U.S. ATTORNEY'S OFFICE
167 N. Main St.

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l\/lemphis7 TN 38103

Honorable Samuel Mays
US DISTRICT COURT

